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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN

Julie Smith,

               Plaintiff,
                                              Civil Action No. 1:13-cv-01225
v.
                                              Hon. Robert J. Jonker
GC Services, L.P. and
DOES 1-10, inclusive,

               Defendants.

LEMBERG & ASSOCIATES, L.L.C.                       MILLER, CANFIELD, PADDOCK AND
Sergei Lemberg                                     STONE, P.L.C.
Attorneys for Plaintiff                            Scott R. Eldridge (P66452)
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 ORDER OF DISMISSAL WITH PREJUDICE OF ACTION AGAINST DEFENDANTS
          WITHOUT FEES OR COSTS AWARDED TO ANY PARTY

       Pursuant to the filed stipulation between Plaintiff Julie Smith (“Plaintiff”) and Defendant

GC Services, Limited Partnership (“GC Services”):

       (1) All claims asserted, or which could have been asserted, against Defendants, including

GC Services and “DOES 1-10,” in the above-captioned matter are hereby DISMISSED WITH

PREJUDICE in their entirety;

       (2) No costs or attorneys’ fees are awarded to any party; and

       (3) This is a final Order closing this matter, including all related claims.
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IT IS SO ORDERED.
                                 /s/Robert J. Jonker
                                 _____________________________________
                                 Hon. Robert J. Jonker
                                 United States District Court
                                 Western District of Michigan

        January 24, 2014
Dated: _______________________
